Case 7:15-cv-00465 Document 1-18 Filed in TXSD on 11/06/15 Page 1 of 5




                       Exhibit B
   Case 7:15-cv-00465 Document 1-18 Filed in TXSD on 11/06/15 Page 2 of 5




                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           McALLEN DIVISION

PHARR SAN JUAN ALAMO,             §
INDEPENDENT SCHOOL                §
DISTRICT,                         §
                                  §
       Plaintiff,                 §
                                  §
VS.                               §     Civil Case No. 15-CV-00465
                                  §
TEXAS DESCON, L.P., DESCON 4S,    §
L.L.C., ERO INTERNATIONAL, L.L.P. §
D/B/A ERO ARCHITECTS, FRANK LAM §
& ASSOCIATES, INC., AND GREAT     §
NORTHERN INSURANCE COMPANY        §
                                  §
       Defendants.                §

                             LIST OF COUNSEL

 COUNSEL FOR PLAINTIFF                 COUNSEL FOR DEFENDANT GREAT
 PHARR SAN JUAN ALAMO                  NORTHERN INSURANCE COMPANY:
 INDEPENDENT SCHOOL DISTRICT:          JENNIFER G. MARTIN
 JESUS RAMIREZ                         Texas State Bar No. 00794233
 Texas State Bar No. 16501950          Southern District Bar No. 20770
 Email: ramirezbook@gmail.com          jmartin@schellcooley.com
 ROBERT SCHELL                         SCHELL COOLEY LLP
 Texas State Bar No. 24007992          15455 Dallas Parkway, Suite 550
 Email: robert_schell@hotmail.com      Addison, Texas 75001
 The J. Ramirez Law Firm               Phone: (214) 665-2000
 Ebony Park, Suite B                   Fax: (214) 754-0060
 700 North Veterans Boulevard
 San Juan, TX 78589
 Phone: (956) 502-5424
 Fax: (956) 502-5007




LIST OF COUNSEL                                                         Page 1
   Case 7:15-cv-00465 Document 1-18 Filed in TXSD on 11/06/15 Page 3 of 5



 COUNSEL FOR DEFENDANTS TEXAS          COUNSEL FOR ERO
 DESCON, L.P AND DESCON 4S, L.L.C.:    INTERNATIONAL, L.L.P. D/B/A ERO
 SPENCER LAYNE EDWARDS                 ARCHITECTS:
 Texas State Bar No.90001513           DAVID BENJAMIN
 sedwards@hudgins-law.com              Texas State Bar No. 02134375
 The Hudgins Law Firm                  dbenjamin@benlawsa.com
 A Professional Corporation            Benjamin, Vana, Martinez & Biggs, LLP
 24 Greenway Plaza, Suite 2000         2161 NW Military Highway, Suite 111
 Houston, Texas 77046                  San Antonio, Texas 78213
 Phone: (713) 623-2550                 Phone: (210) 881-0667
 Fax: (713) 623-2793                   Fax: (210) 881-0668




 COUNSEL FOR FRANK LAM &
 ASSOCIATES, INC.
 MATTHEW B. CANO
 Texas State Bar No. 03757050
 mbc@aaplaw.com
 S.W. “Whitney” May
 Texas State Bar No. 24074668
 swm@aaplaw.com
 Allensworth And Porter, L.L.P.
 100 Congress Avenue, Suite 700
 Austin, Texas 78701
 Phone: (512) 708-1250
 Fax: (512) 708-0519




LIST OF COUNSEL                                                           Page 2
   Case 7:15-cv-00465 Document 1-18 Filed in TXSD on 11/06/15 Page 4 of 5




                                   Respectfully submitted,

                                    /s/ Jennifer G. Martin
                                    JENNIFER G. MARTIN
                                      Texas State Bar No. 00794233
                                      S.D. Tex. Bar No. 20770
                                   SCHELL COOLEY LLP
                                   15455 Dallas Parkway, Suite 550
                                   Addison, Texas 75001
                                   (214) 665-2000
                                   (214) 754-0060 – Fax

                                   ATTORNEYS FOR GREAT               NORTHERN
                                   INSURANCE COMPANY




LIST OF COUNSEL                                                          Page 3
    Case 7:15-cv-00465 Document 1-18 Filed in TXSD on 11/06/15 Page 5 of 5




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been forwarded
to the following counsel of record in accordance with the Federal Rules of Civil Procedure, on this
the 6th day of November, 2015.

Jesus Ramirez
Email: ramirezbook@gmail.com
Robert Schell
Email: robert_schell@hotmail.com
The J. Ramirez Law Firm
Attorneys at Law
Ebony Park, Suite B
700 North Veterans Boulevard
San Juan, Texas 78589

Spencer Edwards
Email: sedwards@hudgins-law.com
The Hudgins Law Firm
A Professional Corporation
24 Greenway Plaza, Suite 2000
Houston, Texas 77046

David P. Benjamin
Email: dbenjamin@benlawsa.com
Benjamin, Vana, Martinez & Biggs, LLP
2161 NW Military Highway, Suite 111
San Antonio, Texas 78213

Matthew B. Cano
Email: mbc@aaplaw.com
S.W. “Whitney” May
Email: swm@aaplaw.com
Allensworth and Porter, L.L.P.
100 Congress Avenue, Suite 700
Austin, Texas 78701


                                             /s/Jennifer G. Martin
                                             JENNIFER G. MARTIN




LIST OF COUNSEL                                                                              Page 4
